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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v Case No. 18-CR-303 (TFH)
JACKSON ALEXANDER COSKO,

Defendant.

 

STATEMENT OF OFFENSE IN SUPPORT OF GUILTY M_
Summa)y of the Plea Agreement
Defendant Jackson A|exander Cosko agrees to admit guilt and enter a plea of guilty to a
Superseding Infonnation, which charges two counts of Making Public Restricted Personal
lnformation, in violation of 18 U.S.C. § ll9, one count of Computer Fraud, in violation of 18
U.S.C. § 1030(a)(2), one count of Witness Tampering, in violation of 18 U.S.C. § 1512(b)(3), and
one count ofObstruction of Justice, in violation of 18 U.S.C. § lSlZ(b)(Z)(B).

I. Elements of the Offenses

 

A. Making Puhlic Restricted Personal Information (Counts One and Two)
The elements of Making Public Restricted Personal lnformation, in violation of 18 U.S.C.
§ ll9, are:
First, that the defendant knowingly made restricted personal information publically
available;
Second, that the information was about a covered person, or a member of the immediate

family of that covered person;

 

 

 

 

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Third. that the defendant did so with the intent to intimidate. or with the intent and
knowledge that the restricted personal information would be used by others to intimidate. a covered
person or a member of the immediate family of that covered person.

A United States Senator is a "covered person" under l8 U.S.C. § ll9(b)(2)(A) (cross
reference to 18 U.S.C. § l l 14).

B. Computer Fraud (Count Three) v

The elements ofComputer l"raud. in violation of l 8 U.S.C. §§ 1030(a)(2) and (c)(2)(B)(ii),
are:

First. that the defendant accessed a protected computer without authorization:

Second, that the defendant thereby obtained information from any department or agency
of the United States: and

Third` that the defendant did so intentional|y; and

Fourth. that the defendant committed the offense in furtherance ofany criminal or tortious
act in violation ofthe Constitution or laws ofthe United States or ofany State, including an act in
violation of l8 U.S.C. § l028(a)(7).

C. Witness Tampering (Count Four)

The elements of Witness Tampering. in violation of 18 U.S.C. § lSl2(b)(3), are:

l~`irst. that the defendant knowingly intimidated threatened. or corruptly persuaded another
person (or attempted to do so):

Second. that the defendant did so with the intent to hinder. delay, or prevent communicating

to a law enforcement officer:

 

 

 

 

 

 

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Third. the communication sought to be prevented related to the commission or possible

commission of`a Federal offense. which includes computer fraud.
D. Obstruction of Justice (Count Five)

The elements ofObstruction ofJustice. in violation of l8 U.S.C. § 1512(b)(2)(B), are:

First, the defendant altered, destroyed. mutilated or concealed a record. document or other
object (or attempted to do so);

Second. the defendant acted knowingly;

Third, the defendant acted corruptly; and

Fourth. the defendant acted with the intent to impair the object's integrity or availability for
use in an official proceeding.

Both a grand jury investigation and a trial hearing are official proceedings, 18 U.S.C.
§l$lZ(g)(l), and neither need not be pending or about to be instituted at the time of offense. 18
U.S.C. §1512(f).

lI. Briet` Statement of Facts
a. Tl\e Defendant’s Termination

1n May 2018, the defendant was terminated from his employment with United States
Senator Maggie Hassan. Prior to his termination. the defendant had served as a computer systems
administrator in the Of`fice of Senator Hassan. ln that position, the defendant had an intimate
knowledge of`. and broad access to. the computer systems. administrative accounts, and related
security measures (including passwords and usernames) in Senator Hassan`s Office. When the
defendant was terminated. his right of access to Senator Hassan`s Offlce and computer systems

was terminated. After his terlnination. the defendant knew that he had no right to enter the

 

 

 

 

 

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Senator`s Of`fice unescoited and without authorization. or to access any computers in the Senator`s
Of`fice.
b. Overview oleie Det`endant’s Burglaries, Computer Fraud, & Data Thet`t

The defendant was angry about his termination and concerned that it would have an adverse
impact on his prospects for future employment As a resu|t. beginning no later than July 2018
and continuing until October 2018. the defendant engaged in an extensive computer fraud and data
theft scheme that he carried out by repeatedly burglarizing Senator Hassan`s Office. The
defendant engaged in an extraordinarily extensive data-theft scheme. copying entire network
drives. sorting and organizing sensitive data. and~exploring ways to use that data to his benefit.

The defendant broke into Senator Hassan`s Office on at least four occasions. including on
or about .luly 26. 2018. August 6. 2018. and October 2, 2018. The defendant gained access to
Senator Hassan’s Offlce by unlawfully obtaining keys from a staffer who was (at the time) still
employed in the Office ("SUBJECT A"`). The defendant then used those keys to enter the
Senator`s Office alone at uight. with the specific intent of unlawfully accessing Senate-owned
computers, for the express purpose of`stealing electronic information - including login credentials
and other means of identification belonging to Senate employees. On at least one occasion` on
October 2. 2018. the defendant obtained the keys from SUBJECT A with SUBJECT A`s
knowledge that the defendant was using the keys to illegally enter the Senator`s Oftice.

During his repeated burglaries of Senator Hassan`s Offlce, the defendant obtained dozens
ofmeans ofidentification (including network login credentials) belonging to at least six employees

of the Office of Senator Hassan. ln order to accomplish that goal, the defendant surreptitiously

installed "keylogger"` devices on at least six computers i`n Senator Hassan`s Of`fice. The

 

 

 

 

 

 

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keylogger devices were designed to be unobtrusive. legitimate looking devices that would go
unnoticed by the individuals that were using the affected computers. They were also designed to
record the keystrokes that Senate staffers typed on their Senate-owned computers - including the
keystrokes thatcom prised usernames and passwords for Senate computers and computer networks.

During burglaries after the installation of the keyloggers, the defendant accessed the
keylogger devices and obtained the information they had recorded. The defendant was thus able
to identify the login credentials that provided access to Senate computers and computer networks.
The defendant then fraudulently used those stolen login credentials, unlawfully accessed Senate
computers and computer networks. and then stole data (including dozens of additional login
credentials for other electronic accounts) belonging to Senator Hassan`s Office or its employees.

During the burglaries, the defendant copied dozens of gigabytes ofdata from computers in
Senator Hassan`s Office. including dozens of usernames and passwords belonging to Senate
employees credit card information belonging to Senate employees. social security numbers
belonging to Senate employees, personally identifying information ("Pll”) belonging to hundreds
of other persons. and tens of thousands of e-mails and internal documents belonging to Senator
Hassan`s Office. The defendant also obtained contact information for numerous sitting U.S.
Senators, which included their home addresses and private phone numbers.

The defendant copied that data onto multiple computers and electronic storage devices.
The defendant sorted and organized at least some ofthe data. including by compiling one electronic
folder that he designated as "high value." '|`his "highvalue"' folder included. among other items.

the personal home addresses ofmultiple Senators.

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e. The Defendant’s Doxxing Offenses-'-

On September 27. 2018. while watching the televised broadcast of`a United States Senate
hearing concerning the nomination of a United States Supreme Court Justice. the defendant
became angry at some of participants in the hearing ~ and he acted on that anger by maliciously
publishing the personal home addresses and telephone numbers of Senators Lindsay Graham.
Orrin Hatch. and Mike Lee. The defendant published that information maliciously. with the intent
to irltirtaicl’z_ite the Senators. and with the knowledge and intent that others who learned of the
information would then use the information to intimidate the three aforementioned Senators. as
well as members oftheir immediate families. by using the information that the defendant had now
made public.

Specifrcal|y. between about 5:15 p.m. and 5:55 p.m.. the defendant used a computer that
was connected to the internet through a facility maintained by the House of Representatives and
visited the "Wikipedia"’ articles for each of those Senators. The defendant then edited those
Wikipedia articles - which were publicly available over the internet - so that the articles would
include the Senators` home addresses and telephone numbers. The defendant also helped
publicize those edits, by posting or "re-tweeting" posts about his edits over Twitter.

During the next few days, after news organizations reported on the publication of the
above-listed Senators` personal information (and described the impact that the publication had
upon the Senators and their family members). Senator Rand Paul called for an investigation of

those offenses. The defendant responded by maliciously publishing the personal home addresses

 

l "Doxxing" is the act of`publishing private or identifying information about an individual on the
lnternet. typically with malicious intent.
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and telephone numbers of Senator Paul as well as Senate Majority Leader Mitch McConnell. with
the intent t_o intimidate them. and with the knowledge and intent that others would use that
information to intimidate Senators Paul and McConnell. Specifrcally. on October 1. 2018. at
about 5 :50 p.m., using a computer that was connected to the internet through a facility maintained
by the Senate. the defendant edited a “Wikipedia" article so that it would include Senator Paul`s
home address and phone number. as well the text. "He dares call for an investigation ofME‘?!?!?!?
l am the Golden God! . . .Also lt`s my legal right as an American to post his info . . . We are

- malicious and hostile . . . Send us bitcoins . . . Wednesday night will be the doxxed next[.]”

Similarly. a few minutes later‘ using the same computer and internet connection. the
defendant published the home address and telephone number ofSenator Mitch McConne|l.

The home addresses and telephone numbers that the defendant published constituted
"rcstricted personal information” under 18 U.S.C. § l 19, and the defendant obtained that restricted
personal information by means of the burglaries and unlawful access to Senate computers
described above.

d. The Defendant’s Final Burglarv & SubseUt Obstruetior_r ofJustice

On October 2. 2018, the defendant obtained SUBJECT A`s key to Senator Hassan`s Offrce
from SUBJECT A. who provided the defendant the keys knowing that the defendant intended to
unlawfully enter the Senator`s Offrce that night with SUBJECT A`s keys. Shortly after 10: 10 p.m..
the defendant used SUBJECT A`s key to open the locked office door of Senator Hassan`s Offrce.
Once inside. the defendant planned on unlawfully accessing a Senate-owned computer that was
used by Witness 3. an employee of Senator Hassan. When the defendant entered the ot`frce. he

went to Witness 3`s computer. used Witness 3`s login credentials (which the defendant had

 

 

 

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previously stolen). and logged in to Witness 3`s computer. The defendant opened a web-based e-
mail application, which Witness 3 had never used. and attempted to review Witness 3`s e-mails.

Shortly thereafter` while the defendant was typing at Witness 3's keyboard and unlawfully
accessing Witness 3`s computer` Witness 2 entered Senator Hassan`s Offrce, and immediately
recognized the defendant as a person who did not have authority to be inside the Senator`s Offrce.
The defendant used Witness 3`s keyboard, locked Witness 3`s computer. and fled. A few minutes
later. at 10:25 p.m., the defendant sent a threatening e-mail to Witness 2. The defendant sent the
e-mail from the address 1ivefreeorpwn@gmail.com, an e~mail address that the defendant had
created to conceal his true identity, including in connection with other activities involving data
that the defendant had stolen from Senator Hassan`s Offrce. The e-mail to Witness 2 was directed
to Witness 2's email account at Senator Hassan`s Offrce. and was titled. “1 own EVERYTHlNG.”
The body of the e-mail stated. "‘lf you tell anyone 1 will leak it all. Emails signal conversations
gmails. Senators children`s health information and socials.” The defendant’s reference to
"signal conversations" was a reference to the use of Signal. a popular messaging application which
enables chats/conversations. The defendant’s reference to "socials" was a reference to social
security numbers.

Later that evening. after the defendant had returned home. the defendant began to plan to
destroy and conceal evidence of his crimes. The defendant wrote a note. reminding himself to
"Backup all files. . . Mail backup . . . Burn aliases . . . Wipe down comps[.]” The defendant then
attempted to actually delete electronic evidence. including electronic evidence of his data theft

from Senator Hassan`s Offrce. as well as evidence of his doxxing offenses. The items that the

 

 

 

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defendant deleted data from included a laptop computer that the defendant had used to "dox” the
other Senators. and which he used to obtain and download stolen data from the Senator`s Offrce. .
The following morning, on October 3, 2018. the defendant met with SUBJ ECT A. to return

SUB.IECT A`s key. During their meeting, and consistent with his handwritten note. the defendant
told SUBJ ECT A to wipe down all of the computers keyboards and computer mice. and to unplug
the computers in Senator Hassan`s Offrce. SUBJECT A understood. and the defendant hoped,
that these actions would destroy latent fingerprints as well as electronic evidence of his unlawful
conduct, and prevent them from being available for any criminal and grand jury investigation.
SUB.IECT A. who knew that the defendant had unlawfully entered Senator Hassan`s Office the
night before. did in fact “wipe down"'computer keyboards and computer mouse devices. but was
unable to complete the task of unplugging the computers, because Witness 3 entered the Offrce.
SUBJECT A then texted the defendant at about 8:28 a.m. on October 3. 2018, stating, "Hey[.] So
l was able to wipe down the keys and mouse but [Witness 3] was coming so 1 could [not] do the
other thing[.]" The defendant replied. “Thanks.” and SUBJECT A finished the conversation by
responding, "Np, sorry l couldn`t do everything."

Respectfully subm itted.

ALESSlO D. EVANGELISTA

Attorney for the United States. Acting Under
Authority Conferred by 28 U.S.C. § 515

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Assistant United States Attorneys

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DEFENDANT’S ACKNOWLEDGMENT
1 have read each of the 10 pages constituting this Statement of Offense and
Acknowledgmenti understand iti and agree that it is true and accurate. Whi|e it is not a complete
' recitation of`everything that l did or everything that l know. it accurately describes my conduct
and my knowledge concerning my own involvement in the illegal activity that is the subject ofthis
Statement ofOffense. No threats have been made to me nor am I linder the influence ofanything

that could impede my ability to understand this factual proffer fully.

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Jackson*rtlexander Cosko
Det`endant

 

ATTORNEY’S ACKNOWLEDGMENT
l have read each of the 10 pages constituting this Statement of Offense and

Acknowledgement, reviewed them with my client. and discussed it with my client.

  

Date: }/)g{//q

  
  

§istopher Hatfleld. Esq ‘
Brian Stolarzi Esq.
/\ttorneys for Det`endant

 

 

 

